Case 2:05-Cr-20277-BBD Document 16 Filed 08/24/05 Page 1 of 2 Page|D 23
]N THE UNITED STATES DISTRICT COURT

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UNITED sTATEs oF AMERICA THGMAS M. GOuB
gg£g;(' U,S. §;:§TRHQTDCUBT
v. Cr. No. 05-20277-01-13 W_»‘D ferc wet fits

DESHONE L. SKINNER
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay While
attempting to obtain private counsel.

IT IS THEREFORE ORDERED that the time period of [)§'2'-{-05 through

0 q ‘ O‘) '05 be excluded from the time limits imposed by the Speedy Trial Act for trial

of this case, while the defendant is attempting to obtain private counsel

ARRAIGNMENT IS RESET TO WEDNESDAY, Qq -0'| -Q§ at 9:30 a.m.

BEFoRE MAGISTRATE JUDGE \_IESCO\|O .

Cs:*'/z;,./,a @...

UNITED STATES MAGISTRATE JUDGE

DATE: 655 129/05

This document entered on the docket sheet in compliance
with Ruie 55 and/or 32(b) rach on ‘ '0(

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

